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EXHIBIT E -- KEY TO EXHIBITS A & B
EXHIBIT A -- BOARD FILINGS FROM CHARGES FORWARD


Date                      Title of Document                                                     Exhibit #
  Current as of 10-14-22* Informal Rough Docket Sheet                                           A-1
               7/19/2022 Specification of Charges                                               A-2
               7/27/2022 Affidavit of Service**                                                 A-3
                 8/4/2022 Motion for Extension of Time                                          A-4
                 8/4/2022 Motion for Leave to File Under Seal                                   A-5
                          Disciplinary Counsel's Opposition to Respondent's Motion for
                 8/4/2022 Extension (Under Seal)                                                A-6
                 8/5/2022 Motion to File Reply Under Seal                                       A-7
                 8/5/2022 Motion to Place Motion for Extension Under Seal                       A-8
                 8/5/2022 Reply in Support Of Motion For Extension Of Time (Under Seal)         A-9
                 8/8/2022 Hearing   Committee  Order  - Granting Motion  for Extension          A-10
                          Board Order - Ruling on Motions to File Under Seal (With Confidential
                 8/8/2022 Appendix)                                                             A-11
                          Disciplinary Counsel's Opposition to Respondent's Motion for
                 8/8/2022 Extension (With Redactions)                                           A-12
               8/11/2022 Motion to Recuse Board Member Matthew Kaiser                           A-13
                          Sealed Response to the Board’s August 8th Sealing Order Including a
               8/11/2022 Call for Affirmative Relief and Incorporated Motion to Seal            A-14
               8/17/2022  Notice  and Incorporated  Motion  to Seal                             A-15
               8/29/2022 Request for Deferral Under Board Rule 4.2                              A-16
                          Hearing Committee Order - Denying Request that Motion be Ruled on
               8/31/2022 Before September 1st                                                   A-17
               8/31/2022 Disciplinary Counsel's Opposition to Request for Deferral              A-18
                 9/1/2022 Motion to File Under Seal (Motion to Defer)                           A-19
                 9/1/2022 Motion to Dismiss and Brief in Support                                A-20
                 9/1/2022 Answer of Respondent                                                  A-21
                 9/1/2022 Motion to File Answer Under Seal                                      A-22
                 9/1/2022 Motion to File Motion to Dismiss Under Seal                           A-23
                 9/2/2022 Board Order - Regarding Redactions                                    A-24
                 9/2/2022 Final Redactions re 2022-08-04 Disciplinary Counsel's Opposition      A-25
                          Final Redactions re 2022-08-05 Reply in Support Of Motion For
                 9/2/2022 Extension of Time                                                     A-26
                 9/2/2022 Final Redactions re 2022-08-04 Motion for Extension of Time           A-27
                 9/2/2022 Board Order - Regarding Redactions (Redacted)                         A-28
                          Opposition to Respondent’s “Sealed Response to the Board’s August
                          8th Sealing Order Including a Call for Affirmative Relief and
                 9/6/2022 Incorporated Motion to Seal”                                          A-29
                          UNDER SEAL Disciplinary Counsel’s Omnibus Response to
                 9/6/2022 Respondent’s September 1, 2022 Pleadings                              A-30
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                      REDACTED - Disciplinary Counsel’s Omnibus Response to
                      Respondent’s September 1, 2022 Pleadings                               A-31
             9/8/2022 Motion to File Answer Under Seal_Redacted                              A-32
             9/8/2022 Answer of Respondent_Redacted                                          A-33
             9/8/2022 Request for Deferral Under Board Rule 4.2_Redacted                     A-34
             9/8/2022 Motion to File Under Seal (Motion for Deferral)_Redacted               A-35
             9/8/2022 Notice and Incorporated Motion to Seal_Redacted                        A-36
             9/8/2022 Motion to Dismiss and Brief in Support_Redacted                        A-37
             9/8/2022 Motion to File Under Seal (Motion to Dismiss)_Redacted                 A-38
                      Sealed Response to the Board’s August 8th Sealing Order Including a
                      Call for Affirmative Relief and Incorporated Motion to Seal (without
             9/8/2022 Attachments)_Redacted                                                  A-39
                      Sealed Response to the Board’s August 8th Sealing Order Including a
                      Call for Affirmative Relief and Incorporated Motion to Seal_Redacted
             9/8/2022 (with attachments)                                                     A-40
            9/12/2022 REDACTED - Reply Brief in Support of Motion to Dismiss                 A-41
            9/12/2022 UNDER SEAL - Reply Brief in Support of Motion to Dismiss               A-42
            9/12/2022 Report and Recommendation                                              A-43
            9/15/2022 Board Order - unsealing docs sealed pursuant to 8/8/2022 order         A-44
            9/15/2022 COURT OF APPEALS Mootness, Etc. Order                                  A-45
            9/15/2022 WITHDRAWN Motion Regarding Publicly Available Filings                  A-46
            9/16/2022 Board Order - ruling on motion to recuse Kaiser                        A-47
                      Respondent's Withdrawal of Motion Regarding Publicly Available
            9/20/2022 Filings                                                                A-48
            9/27/2022 Board Order denying request to defer                                   A-49
            9/29/2022 Hearing Committee Order - Setting Pre-Hearing Conference               A-50
            10/3/2022 Statement Concerning Hearing Dates                                     A-51
                      Hearing Committee Order - Re Pre-Hearing Conference, What Parties
            10/4/2022 Should be Prepared to Discuss                                          A-52
            10/6/2022 Pre-Hearing Transcript                                                 A-53
            10/6/2022 Subpoena                                                               A-54
           10/12/2022 Hearing Committee Order - Memorializing Pre-Hearing                    A-55
           10/14/2022 Email from D. O'Neill to P. Fox and Draft Subpoena to D. Smith         A-56

                       * Items like subpoenas and the DCCA Order of 9/15/22 are not
                       on the Board's rough docket sheet

                       ** We could not find this document.

EXHIBIT B -- PRE-CASE/PRE-PROSECUTION INVESTIGATION STAGE DOCUMENTS

Date                  Title of Document                                                      Exhibit #
            10/7/2021 Senator Durbin Letter                                                  B-1
            1/31/2022 H MacDougald to P Fox Letter re Subpoena                               B-2

            1/31/2022 H MacDougald to P Fox Letter re Subpoena re Other Legal Objections B-3
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           P Fox to H. MacDougald Letter re Motion to Enforce (contains 11-22-
  2/3/2022 21 subpoena)                                                           B-4
10/17/2022 Official Docket Sheet                                                  B-5
  2/3/2022 Motion to Enforce (contains 11-22-21 P Fox to J Clark Letter           B-6
 2/14/2022 Appearance by Charles Burnham                                          B-7
 2/14/2022 Consent Motion For Extension Of Time to File opposition                B-8
 2/15/2022 Order Granting Motion for extension of time to file opposition *       B-9
 2/15/2022 Consent Motion to Exceed Length Limitations                            B-10
 2/15/2022 Response to Motion to Compel and Cross-Motion to quash**               B-11
           Disciplinary Counsel's Reply to Respondent's Opposition to Motion to
           compel and Cross motion to quash subpoena: Additional Factual
 2/18/2022 Statements                                                             B-12
 2/21/2022 Reply in Support of Cross-Motion to Quash                              B-13
 3/11/2022 Consent Motion for leave to supplement the record                      B-14
           Response to Disciplinary counsel's consent motion for
 3/14/2022 leave to supplement the record                                         B-15
 3/15/2022 Lodged Protection Motion to Quash at Board                             B-16
 3/17/2022 Motion for Leave to Reply to Respondent's March 15, 2022 Pleading B-17
  8/4/2022 Motion to Unseal                                                       B-18
 8/11/2022 Answer/Response to Motion to unseal & Cross-Mot to Stay                B-19
           Disciplinary Counsel's opposition to respondent's cross-motion to stay
           proceedings before the Board on Professional Responsibility pending
 8/15/2022 resolution in this court                                               B-20

            Reply brief in support of Cross motion to Stay proceedings before the
            Board Of Professional responsibility pending resolution in this court
 8/18/2022                                                                               B-21
 8/31/2022 Notice of Supplemental Authority                                              B-22
                                                                                         Exh A-45,
 9/15/2022 Mootness Order                                                                supra

            * This document could not be downloaded.

            ** The DCCA docket sheet indicates that this filing was "Lodged,"
            which is not correct. It confuses this filing with a different filing made
            to the Board, which is listed above.
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